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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 IMPLICIT, LLC,                                      §
                                                     §
         Plaintiff,                                  §      CIVIL ACTION NO. 6:17-cv-182-JRG
                                                     §               (LEAD CASE)
 v.                                                  §
                                                     §
 HUAWEI TECHNOLOGIES USA, INC., et al.               §            JURY TRIAL DEMANDED
                                                     §
       Defendants.                                   §

                      FOURTH AMENDED DOCKET CONTROL ORDER

       In accordance with the scheduling conference held in this case, it is hereby ORDERED

that the following schedule of deadlines is in effect until further order of this Court:

Current Deadline         New Deadline                                    Event

October 22, 2018         Unchanged                 *Jury Selection – 9:00 a.m. in Tyler, Texas

September 24, 2018       Unchanged                 *Pretrial Conference – 9:00 a.m. in
                                                   Marshall, Texas before Judge Rodney Gilstrap

September 19, 2018       Unchanged                 *Notify Court of Agreements Reached During
                                                   Meet and Confer

                                                   The parties are ordered to meet and confer on
                                                   any outstanding objections or motions in limine.
                                                   The parties shall advise the Court of any
                                                   agreements reached no later than 1:00 p.m. three
                                                   (3) business days before the pretrial conference.

September 17, 2018       Unchanged                 *File Joint Pretrial Order, Joint Proposed Jury
                                                   Instructions, Joint Proposed Verdict Form,
                                                   Responses to Motions in Limine, Updated
                                                   Exhibit Lists, Updated Witness Lists, and
                                                   Updated Deposition Designations
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September 10, 2018   Unchanged             *File Notice of Request for Daily Transcript or
                                           Real Time Reporting.

                                           If a daily transcript or real time reporting of
                                           court proceedings is requested for trial, the party
                                           or parties making said request shall file a notice
                                           with the Court and e-mail the Court Reporter,
                                           Shelly                 Holmes,                   at
                                           shelly_holmes@txed.uscourts.gov.

September 5, 2018    September 14, 2018    File Motions in Limine

                                           The parties shall limit their motions in limine to
                                           issues that if improperly introduced at trial
                                           would be so prejudicial that the Court could not
                                           alleviate the prejudice by giving appropriate
                                           instructions to the jury.

September 5, 2018    September 14, 2018    Serve Objections         to   Rebuttal     Pretrial
                                           Disclosures

August 27, 2018      September 7, 2018     Serve Objections to Pretrial Disclosures; and
                                           Serve Rebuttal Pretrial Disclosures

August 20, 2018      August 29, 2018       Serve Pretrial Disclosures (Witness List,
                                           Deposition Designations, and Exhibit List) by
                                           the Party with the Burden of Proof

August 2, 2018       August 9, 2018        *File Motions to Strike Expert Testimony
                                           (including       Daubert        Motions)

                                           No motion to strike expert testimony (including
                                           a Daubert motion) may be filed after this date
                                           without leave of the Court.

August 2, 2018       August 9, 2018        *File Dispositive Motions

                                           No dispositive motion may be filed after this
                                           date without leave of the Court.

                                           Motions shall comply with Local Rule CV-56
                                           and Local Rule CV-7. Motions to extend page
                                           limits will only be granted in exceptional
                                           circumstances.     Exceptional circumstances
                                           require more than agreement among the parties.




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July 20, 2018           August 6, 2018           Deadline to Complete Expert Discovery

                        July 31, 2018            Serve Disclosures for Rebuttal Expert Witnesses
                                                 (PAN’s rebuttal expert disclosure regarding
                                                 infringement)

July 16, 2018           July 23, 2018            Serve Disclosures for Rebuttal Expert Witnesses
                                                 (except for PAN’s rebuttal expert disclosure
                                                 regarding noninfringement)

June 25, 2018           July 2, 2018             Deadline to Complete Fact Discovery and File
                                                 Motions to Compel Discovery

June 25, 2018           July 2, 2018             Serve Disclosures for Expert Witnesses by the
                                                 Party with the Burden of Proof


(*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

       Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
mediator or indicates that no agreement was reached. If the parties do not reach an agreement,
the Court will appoint a mediator. The parties should not file a list of mediators to be considered
by the Court.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
completed briefing (opening motion, response, reply, and if applicable, surreply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. For expert-related motions, complete digital copies of the
relevant expert report(s) and accompanying exhibits shall submitted on a single flash drive.
These copies shall be delivered as soon as briefing has completed.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
to include any arguments related to the issue of indefiniteness in their Markman briefing, subject
to the local rules’ normal page limits.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;


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(c)       The failure to complete discovery prior to trial, unless the parties can demonstrate that it
          was impossible to complete discovery despite their good faith effort to do so.
      .
        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO
shall include a proposed order that lists all of the remaining dates in one column (as above) and
the proposed changes to each date in an additional adjacent column (if there is no change for a
date the proposed date column should remain blank or indicate that it is unchanged). In other
words, the DCO in the proposed order should be complete such that one can clearly see all the
remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
to an earlier version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”
       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 18th day of June, 2018.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE




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